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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MARKUS COWARD, sTIPULATIoN oF

DISCONTINUANCE WITH
PREJUDICE AGAINST
DEFENDANT CATHOLIC
CHARITIES OF THE
DIOCESES OF ROCHESTER

Plaintiff,
v.

STATE UNIVERSITY OF NEW YORK,

STATE UNIVERSITY OF NEW YORK AT
BROCKPORT, NAZARETH COLLEGE , and
CATHOLIC CHARITIES OF THE DIOCESES OF . . _
ROCHESTER’ C1V11 No. 6.16-cv-06842

Defendants.

 

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the
attorneys of record for Plaintiff and Defendant Catholic Charities of the Dioceses of Rochester, that
Whereas no party hereto is an infant or incompetent person for Whom a committee has been
appointed and no person not a party has an interest in the subject matter of the action, the above
entitled action by Plaintiff against Catholic Charities of the Dioceses ofRochester be, and the same
hereby is, discontinued, on the merits and With prejudice, Without costs to any party as against

another. This stipulation may be filed Without further notice With the Clerk of the Court.

 

 

Dated: May 21, 2018 Dated: May 21, 2018

HALL LAW FIRM PLLC HARRIS BEACH PLLC

s/ Earl Thomas Hall s/ Scott D. Piper

Earl Thomas Hall, Esq. Scott D. Piper, Esq.

Attorneyfor the Plal'ntijj’ Attorneysfor Defena’ant Cathol ic Charz`tl`es
4 Wenlock Road of the Dz`oceses of Rochester

Fairport, New York 14450 99 Garnsey Road

Phone: (585) 244-8743 Pittsford, New York 145 34

Fax: (888) 866-6920 Phone: (585) 419-8800
ehall@hall-laW-firm.com Fax: (585) 419-8817

spiper@harrisbeach.com

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SO ORDERED:

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Hon. Charles J. Sirag\.§/ (
United States District ge

Date: hth 5 2 ,2()18

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